                        UNITED STATES DISTRICT COURT FOR THE DISTRICT OF ALASKA
                           CIVIL DOCKET ENTRIES FOR CASE A93-0422--CV (HRH)
                                        "USA V ROBERT J. ROWEN"

                     Including terminated parties, excluding terminated counsel


   Presiding Judge: The Honorable H. Russel Holland, U.S. District Judge
  Magistrate Judge:
     Referral Rule:
             Filed: 10/25/93
            Closed: 01/19/94

      Jurisdiction:
     PLF Diversity:
     DEF Diversity:

    Nature of Suit: TAX DISPUTE IRS (26:7401)

              Origin:
              Demand:
          Filing fee:
            Trial by:



Parties of Record:                                           Counsel of Record:

PLF 1.1                 UNITED STATES OF AMERICA                 No counsel found for this party!

DEF 1.1                 ROWEN, ROBERT J.                         No counsel found for this party!




ACRS: R_VDSPX                 As of Tuesday, February 7, 2006 at 2:43 PM by NON-NET           Page 1

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                                         For all filing dates


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 Document #     Filed      Docket text

   18 -    1    10/25/94   Transcript Designation/Order Form.

   19 -    1    06/19/95   Mandate from 9CCA. D.C. Affirmed. cc: cnsl, Judge Holland. 94-35129.




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